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    V,          Case 3:16-cr-00511-AJB               Document 80            Filed 11/22/16            PageID.237        Page 1 of 3
         AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                            United States District Court                                                   FILED
                                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                           PH Zi 1$
                                                        JUDGMENT IN A CRIMINA^Ulfel?,^^^
                      UNITED STATES OF AMERICA
                                                        (For Offenses Committed On or After November 1^9816)/
                                 V.
                      EDUARDO LEE-REVELES (01)                                           •*V:
                                                          Case Number: 16CR0511 -AJB

                                                                             Stephen Patrick White
                                                                                                                                          mm*
                                                                             Defendant’s Attorney
         REGISTRATION NO.                 52225298

         □-
         THE DEFENDANT:
         [El pleaded guilty to count(s)      One of the Information

         □ was found guilty on count(s)
             after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                               Count
         Title & Section                   Nature of Offense                                                                 Number(s)
         21 USC 841(a)(1)                  Possession of Methamphetamine with Intent to Distribute                               1




             The defendant is sentenced as provided in pages 2 through     __           3           of this judgment.
         The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
         □ The defendant has been found not guilty on count(s)
         □ Count(s)                                                    is          dismissed on the motion of the United States.

              Assessment: $100.00
         El

         El  Fine waived            □ Forfeiture pursuant to order filed                                       , included herein.
                IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
         change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
         judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
         any material change in the defendant’s economic circumstances.

                                                                             November 15. 2016
                                                                             Date  [position of Seutance
                                                                                                                                      t


                                                                                 N. ANTHONY J. BATTAGLIA
                                                                                 ITED STATES DISTRICT JU



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                                                                  PROBATION
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
□ substance abuse. {Check, ifapplicable.)
Bl     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
□ resides,      works, is a student, or was convicted of a qualifying offense. {Check if applicable.)
       The defendant shall participate in an approved program for domestic violence. {Check if applicable.)
□
          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
         with such notification requirement.



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                                   SPECIAL CONDITIONS OF SUPERVISION




        1.    Complete (240) hours of community service in a program approved by the probation officer and as
             directed by Probation Department.




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